Case 2:75-cv-04111-DDP Document 268-1 Filed 12/15/10 Page 1 of 4 Page ID #:3696



    1                           Declaration of Peter J. Eliasberg
    2         I, Peter J. Eliasberg, hereby declare:
    3         1.    I make this declaration based on my own personal knowledge and if
    4 called to testify I could and would do so competently as follows:
    5         2.    On Wednesday December 15, 2010 I sent an e-mail to Paul Beach,
    6 Defendants’ counsel in this matter, informing him that Plaintiffs intended to file
    7 two Ex Parte Applications requesting that the Court: 1) vacate submission of
    8 Plaintiffs’ Motion for a Protective Order and requesting that oral argument be
    9 heard on the motion on January 11, 2010; and 2) set a scheduling conference and
  10 enter a subsequent scheduling order on a motion that Plaintiffs intend to file in the
  11 future to enforce compliance with the judgment in this matter. A true and correct
  12 copy of that e-mail is attached as Exhibit 1.
  13          3.    At about 2 pm, Mr. Beach called me. During our call I clarified for
  14 Mr. Beach that we were not immediately seeking to file a motion to compel
  15 compliance, and that I was not attempting to meet and confer on the motion to
  16 compel compliance, but was instead giving him notice of our intention to file an
  17 Ex Parte Application for a Scheduling Conference and Scheduling Order for dates
  18 concerning discovery, etc. on a motion to compel compliance. Mr. Beach
  19 informed me that Defendants would oppose the Ex Parte applications.
  20          4.    In addition, Mr. Beach proposed that he and I meet, along with one
  21 other lawyer for Plaintiffs and one other lawyer for Defendants to attempt to
  22 resolve the discovery disputes among the parties. He proposed two dates that he
  23 \ \ \
  24 \ \ \
  25 \ \ \
  26 \ \ \
  27 \ \ \
  28 \ \ \
Case 2:75-cv-04111-DDP Document 268-1 Filed 12/15/10 Page 2 of 4 Page ID #:3697



    1 was available to meet, December 28 and December 29, 2010. I told him that I
    2 would confer with co-counsel about those dates but was committed to meeting if
    3 at all possible on one of those dates to address the discovery issues.
    4         I declare under penalty of perjury of the laws of the State of California and
    5 the United States that the foregoing is true and correct. Executed December 15,
    6 2010 in Los Angeles, California.
    7                                                s/ Peter J. Eliasberg
    8                                                Peter J. Eliasberg
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                 2
Case 2:75-cv-04111-DDP Document 268-1 Filed 12/15/10 Page 3 of 4 Page ID #:3698




                    EXHIBIT
                       1
      Case 2:75-cv-04111-DDP Document 268-1 Filed 12/15/10 Page 4 of 4 Page ID #:3699


Christian Lebano
From:                         Peter Eliasberg
Sent:                         Wednesday, December 15, 2010 3:35 PM
To:                           Christian Lebano
Subject:                      FW: Rutherford -- notice re ex parte applications

AmicusFileIds:                70
AmicusFileName:               Rutherford
AmicusId:                     37204
AmicusStatus:                 Saved


The e-mail below should be the attachment to my declaration.
Peter

From: Peter Eliasberg
Sent: Wednesday, December 15, 2010 12:30 PM
To: 'pbeach@lbaclaw.com'
Cc: 'Justin W. Clark'; 'David Shapiro'; 'Eric Balaban'; 'Esther Lim'; 'Jessica Price'; 'Margaret Winter'; 'Melinda Bird';
'MikoLevine, Jennifer B.'; Peter Eliasberg; 'Stacy Weinstein Harrison (stacy.harrison@bingham.com)'
Subject: Rutherford -- notice re ex parte applications

Dear Paul, we have been trying unsuccessfully to speak for a number of days. As I said in my message yesterday, I am
available to speak all day today. I will continue to try you so we can discuss the outstanding discovery issues. However,
there are two issues that Plaintiffs believe are time sensitive and that we need to put in front Court as soon as possible
by means of Ex Parte Application:

    1) Request to vacate submission of Plaintiffs’ Motion for a Protective Order and request to hear oral argument on
       the matter on January 10, 2011; and
    2) Request for Scheduling Conference and Scheduling Order on Plaintiffs’ Proposed Motion to Compel Compliance
       with the Judgment in Rutherford.

Please let me know you position on these applications, which we intend to file at the end of the day today.

Sincerely,
Peter Eliasberg




                                                                1
